           Case 2:24-cv-04001-JS-ST Document 6 Filed 06/13/24 Page 1 of 2 PageID #: 29

AO 440 (Rev. 06/ 12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                               for the
                                                   Eastern District of New York

RAFAEL DEPAZ and GUSTAVO LOPEZ, on behalf of                     )
       themselves and all others similarly-situated,             )
                                                                 )
                                                                 )
                            Plaintiff(s)
                                                                 )
                                                                 )
                                 V.                                      Civil Action No. 24-cv-4001-JS-ST
                                                                 )
  DIRTY TACO & TEQUILA INC. , and DT RVC LLC,                    )
                                                                 )
                                                                 )
                                                                 )
                           Defendant(s)                          )

                                                 SUMMONS IN A CIVIL ACTION
   ' (D •" d ,          d dd _ DIRTYTACO&TEQU ILAINC. - 3261 MerrickRoad, Wantagh, New York11793
T0 .   eJen ants name an a ress/1               .  .              .
                                       DT RVC LLC - 201 Sunrise Highway, Rockville Center, New York 11 570




          A lawsuit has been filed against you.

        Within 21 days after se1vice of this summons on you (not counting the day you received it) - or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) - you must se1ve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedw·e. The.answer or motion must be se1ved on the plaintiff or plaintiffs attorney,
                                Jerrrey R":°Maguire
whose name and address are: Stevenson Marino LLP
                                       445 Hamilton Avenue, Suite 1500
                                       White Plains, NY 10601




       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint..
You also must file your answer or motion with the comt.


                                                                            BRENNA B. MAHONEY
                                                                            CLERK OF COURT

                                                                                       Isl C.Valle
                6/ 13/2024
Date:
        ---------                                                                     Signature ofClerk or Deputy Clerk
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 Civil Action No. 24-cv-4001-JS-ST

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           □   I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           □   I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           □   I served the summons on (name of individual)                                                                    , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           □   I returned the summons unexecuted because                                                                            ; or

           □   Other (specify):




           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
